    Case 1:20-cv-02495-LTS-GWG
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK


    ALEXIS SKLAIR, STERLING RETTKE,
    NATHANIEL BROWN, BRIAN GILES,
    JOCELYN REYNOLDS, and CARYN
    AUSTEN on behalf of themselves and all
    others similarly situated,

                                 Plaintiffs,            Case No. 20 Civ. 2495 (LTS) (GWG)

       v.

    MIKE BLOOMBERG 2020, INC., and
    MICHAEL BLOOMBERG,

                                 Defendants.



             [PROPOSED] ORDER GRANTING THE JOINT MOTION
            TO MODIFY THE BRIEFING SCHEDULE ON THE MOTION
                TO DISMISS THE FIRST AMENDED COMPLAINT

        Upon consideration of the parties’ joint motion to modify the briefing schedule on

the defendants’ motion to dismiss the First Amended Complaint, and the entire record

herein, the motion is GRANTED. The defendants shall file their motion to dismiss the

First Amended Complaint on or by August 3, 2020, the plaintiffs shall file their response

on or by August 31, 2020, and the defendants shall file their reply on or by September 21,

2020. The Clerk is directed to terminate DE# 20. DE#41 resolved. SO ORDERED.
                                                /s/ Laura Taylor Swain 7/10/2020
                                               _____________________________
                                               Laura Taylor Swain
                                               U.S. District Court Judge


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